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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                                      CASES NO. 4:12cr33-RH/GRJ
                                                                  4:14cv29-RH/GRJ

DARRYL KING,

                  Defendant.

________________________________/


                           ORDER DENYING THE § 2255 MOTION


         The defendant has moved under 28 U.S.C. § 2255 for relief from his

judgment of conviction. The motion is before the court on the magistrate judge’s

report and recommendation, ECF No. 95, and the objections, ECF No. 96. I have

reviewed de novo the issues raised by the objections. This order accepts the report

and recommendation and denies the § 2255 motion.

         This order adopts the report and recommendation as the court’s opinion with

this change: the words “due to a reduction in the defendant’s offense level” on

page 9 are struck.

         A defendant may appeal the denial of a § 2255 motion only if the district

court or court of appeals issues a certificate of appealability. Under 28 U.S.C.



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§ 2253(c)(2), a certificate of appealability may issue “only if the applicant has

made a substantial showing of the denial of a constitutional right.” Miller-El v.

Cockrell, 537 U.S. 322, 335-38 (2003); Slack v. McDaniel, 529 U.S. 473, 483-84

(2000); Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); see also Williams v.

Taylor, 529 U.S. 362, 402-13 (2000) (setting out the standards applicable to a

§ 2254 petition on the merits). As the Court said in Slack:

              To obtain a COA under § 2253(c), a habeas prisoner must make a
              substantial showing of the denial of a constitutional right, a
              demonstration that, under Barefoot, includes showing that
              reasonable jurists could debate whether (or, for that matter, agree
              that) the petition should have been resolved in a different manner
              or that the issues presented were “adequate to deserve
              encouragement to proceed further.”

529 U.S. at 483-84 (quoting Barefoot, 463 U.S. at 893 n.4). Further, to obtain a

certificate of appealability when dismissal is based on procedural grounds, a

petitioner must show, “at least, that jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the district court was correct

in its procedural ruling.” Id. at 484.

         The defendant has not made the required showing. This order thus denies a

certificate of appealability.

         For these reasons,

         IT IS ORDERED:



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         1. The report and recommendation is accepted.

         2. The clerk must enter a judgment stating, “The defendant Darryl King’s

motion for relief under 28 U.S.C. § 2255 is denied.

         3. A certificate of appealability is denied.

         SO ORDERED on January 4, 2017.

                                                        s/Robert L. Hinkle
                                                        United States District Judge




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